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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 HUBERT RANDLE                                   §
 on behalf of himself individually,              §
 and ALL OTHERS SIMILARLY                        §
 SITUATED                                        §
                                                 §
         Plaintiffs,                             §       CIVIL ACTION NO. 4:18-cv-01770
                                                 §
 v.                                              §
                                                 §
 METROPOLITAN TRANSIT                            §
 AUTHORITY OF HARRIS COUNTY                      §
                                                 §
         Defendant.

                   NOTICE OF WITHDRAWAL OF CONSENT FORMS

        Plaintiff hereby provides notice that the following consent forms are being withdrawn from

this case.

        1. Charlotte Johnson (Dkt. 133);

        2. Kashica Whitfield (Dkt. 132);

        3. Dora Robinson (Dkt. 131);

        4. Cary E. Lacy (Dkt. 130);

        5. Pamela Draper (Dkt. 128);

        6. Larry Richards (Dkt. 127);

        7. Chandra Henry (Dkt. 126);

        8. JaQuira Provost (Dkt. 125);

        9. Tammi Carson (Dkt. 124); and

        10. Keldred Martin (Dkt. 123).



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                                              Respectfully submitted,


                                                KENNEDY HODGES, L.L.P.

                                              By: /s/ Don J. Foty
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                                              AND

                                              THE FOLEY LAW FIRM

                                              By: /s/ Taft L. Foley II
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                                                 State Bar No. 24039890
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                                                 Taft.Foley@thefoleylawfirm.com

                                               ATTORNEYS FOR PLAINTIFF AND CLASS MEMBERS


                                CERTIFICATE OF SERVICE

        I certify that on this October 28, 2019, a true and correct copy of the foregoing instrument
was filed through the Court’s electronic case filing which will serve a copy of this document
electronically on all counsel of record.

                                                     /s/ Don J. Foty
                                                     Don J. Foty




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